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            NOTE: This order is nonprecedential.


    United States Court of Appeals
        for the Federal Circuit
                     ______________________

    IN RE: ENTRESTO (SACUBITRIL/VALSARTAN)
            --------------------------------------------------

  NOVARTIS PHARMACEUTICALS CORPORATION,
              Plaintiff-Appellant

                                    v.

          TORRENT PHARMA INC., TORRENT
             PHARMACEUTICALS LTD.
                    Defendants

             --------------------------------------------------

  NOVARTIS PHARMACEUTICALS CORPORATION,
              Plaintiff-Appellant

                                    v.

      ALEMBIC PHARMACEUTICALS LIMITED,
        ALEMBIC PHARMACEUTICALS INC.,
                  Defendants

             --------------------------------------------------

  NOVARTIS PHARMACEUTICALS CORPORATION,
              Plaintiff-Appellant

                                    v.

        MSN PHARMACEUTICALS, INC., MSN
      LABORATORIES PRIVATE LTD., MSN LIFE
Case: 23-2218     Document: 114    Page: 2   Filed: 01/14/2025




 2                 NOVARTIS PHARMACEUTICALS CORPORATION v.
                                      TORRENT PHARMA INC.

                 SCIENCES PRIVATE LTD.,
                    Defendants-Appellees

     HETERO USA, INC., HETERO LABS LIMITED,
         HETERO LABS LIMITED UNIT-III,
                    Defendants
              ______________________

                2023-2218, 2023-2220, 2023-2221
                    ______________________

     Appeals from the United States District Court for the
 District of Delaware in Nos. 1:19-cv-01979-RGA, 1:19-cv-
 02021-RGA, 1:19-cv-02053-RGA, 1:19-cv-02053-RGA, 1:20-
 md-02930-RGA, Judge Richard G. Andrews.
                  ______________________

                        ON MOTION
                    ______________________

     Before LOURIE, PROST, and REYNA, Circuit Judges.
 PER CURIAM.
                          ORDER
     Novartis Pharmaceuticals Corporations moves for the
 court to immediately issue the mandate in the above-cap-
 tioned appeal and requests expedited treatment of the mo-
 tion. MSN Laboratories Private Ltd., MSN Life Sciences
 Private Ltd. and MSN Pharmaceuticals, Inc. responds and
 Novartis replies.
     Upon consideration thereof,
     IT IS ORDERED THAT:
     The motion is denied.


                                             FOR THE COURT




  January 14, 2025
      Date
